1                               UNITED STATES DISTRICT COURT
2                                       DISTRICT OF NEVADA
3     COREY HAMILTON,                                       Case No. 3:19-cv-00617-MMD-CBC
4                                              Plaintiff                      ORDER
5            v.
6     RICHARD SNYDER, et al.,
7                                          Defendants
8
9    I.     DISCUSSION

10          Plaintiff, who is an inmate in the custody of the Nevada Department of Corrections

11   (“NDOC”), has submitted a civil rights complaint pursuant to 42 U.S.C. § 1983 and has

12   filed an application to proceed in forma pauperis. (ECF Nos. 1-1, 1).

13          Plaintiff’s application to proceed in forma pauperis is incomplete. Pursuant to 28

14   U.S.C. § 1915(a)(2) and Local Rule LSR 1-2, Plaintiff must complete an application to

15   proceed in forma pauperis and attach both an inmate account statement for the past six

16   months and a properly executed financial certificate. Plaintiff has not submitted a properly

17   executed financial certificate on the correct form or an inmate account statement. (See

18   ECF No. 1). As such, the in forma pauperis application is denied without prejudice. The

19   Court will retain Plaintiff’s civil rights complaint (ECF No. 1-1), but will not file it until the

20   matter of the payment of the filing fee is resolved. Plaintiff will be granted an opportunity

21   to cure the deficiencies of his application to proceed in forma pauperis, or in the

22   alternative, pay the full filing fee for this action. If Plaintiff chooses to file a new application

23   to proceed in forma pauperis he must file a fully complete application to proceed in forma

24   pauperis.

25   II.    CONCLUSION

26          For the foregoing reasons, IT IS ORDERED that Plaintiff’s application to proceed

27   in forma pauperis (ECF No. 1) is DENIED without prejudice to file a new application.

28          IT IS FURTHER ORDERED that the Clerk of the Court WILL SEND Plaintiff the
1    approved form application to proceed in forma pauperis by a prisoner, as well as the
2    document entitled information and instructions for filing an in forma pauperis application.
3           IT IS FURTHER ORDERED that within thirty (30) days from the date of this order,
4    Plaintiff will either: (1) file a fully complete application to proceed in forma pauperis, on
5    the correct form with complete financial attachments in compliance with 28 U.S.C. §
6    1915(a); or (2) pay the full $400 fee for filing a civil action (which includes the $350 filing
7    fee and the $50 administrative fee).
8           IT IS FURTHER ORDERED that if Plaintiff does not timely comply with this order,
9    dismissal of this action may result.
10          IT IS FURTHER ORDERED that the Clerk of the Court will retain the complaint
11   (ECF No. 1-1) but will not file it at this time.
12          DATED: October 10, 2019.
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14                                                UNITED STATES MAGISTRATE JUDGE
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